21-10657-tmd Doc#11 Filed 11/23/21 Entered 11/23/21 10:21:45 Main Document Pg 1 of 9
21-10657-tmd Doc#11 Filed 11/23/21 Entered 11/23/21 10:21:45 Main Document Pg 2 of 9
21-10657-tmd Doc#11 Filed 11/23/21 Entered 11/23/21 10:21:45 Main Document Pg 3 of 9
21-10657-tmd Doc#11 Filed 11/23/21 Entered 11/23/21 10:21:45 Main Document Pg 4 of 9
21-10657-tmd Doc#11 Filed 11/23/21 Entered 11/23/21 10:21:45 Main Document Pg 5 of 9
21-10657-tmd Doc#11 Filed 11/23/21 Entered 11/23/21 10:21:45 Main Document Pg 6 of 9
21-10657-tmd Doc#11 Filed 11/23/21 Entered 11/23/21 10:21:45 Main Document Pg 7 of 9
21-10657-tmd Doc#11 Filed 11/23/21 Entered 11/23/21 10:21:45 Main Document Pg 8 of 9
21-10657-tmd Doc#11 Filed 11/23/21 Entered 11/23/21 10:21:45 Main Document Pg 9 of 9
